






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. WR-20,423-29 AND WR-20,423-31  




EX PARTE ISMAEL PADILLA, Applicant




ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
CAUSE NO. W83-88766-P IN THE 203RD DISTRICT COURT
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.


O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for a writ of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery and sentenced to fifty years’ imprisonment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In each of his present applications,  Applicant raises one ground containing multiple sub-claims.  These applications, however, presents a more serious question.  This Court’s records reflect
that Applicant has filed ten prior applications pertaining to this conviction.  It is obvious from the
record that Applicant continues to raise issues that have been presented and rejected in previous
applications or that should have been presented in previous applications.  The writ of habeas corpus
is not to be lightly or easily abused.  Sanders v. U.S., 373 U.S. 1 (1963); Ex parte Carr, 511 S.W.2d
523 (Tex. Crim. App. 1974).  Because of his repetitive claims, we hold that Applicant’s claims are
barred from review under Article 11.07, § 4, and are waived and abandoned by his abuse of the writ. 
These applications are dismissed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Therefore, we instruct the Honorable Abel Acosta, Clerk of the Court of Criminal Appeals,
not to accept or file the instant applications for writs of habeas corpus, or any future application
pertaining to this conviction unless Applicant is able to show in such an application that any claims
presented have not been raised previously and that they could not have been presented in a previous
application for a writ of habeas corpus.  Ex parte Bilton, 602 S.W.2d 534 (Tex. Crim. App. 1980).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this order shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Filed: April 16, 2014
Do not publish


